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UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

 

 

Plaintiff,
vs. z No. 1:1s-cv-8865-AJN-GWG
ELoN MUsK

Defendant.

 

JOINT SUBMISSION REGARDING STATUS OF EFFORTS
TO RESOLVE THE SEC’S PENDING MGTION

Pursuant to this Court’s April 4, 2019 Order, counsel for Plaintiff United States
Securities and Exchange Commission (“SEC”) and Defendant Elon Musl< provide this
submission to inform the Court of our efforts to reach an agreement to resolve the SEC’s
pending motion and modify the consent judgment previously entered by the Court.
While we have not reached an agreement, counsel for the SEC, Mr. Musl<, and counsel
for Tesla met and conferred for over an hour by telephone earlier this week and are
continuing to discuss potential resolution. Because our discussions are ongoing, we $'
respectfully request to provide the Court with anotherjoint submission on or hefore April otuwk

25, 2019, indicating whether we have reached an agreement in principle

 

 

Dated: April l8, 2019 Respectfully submitted,
Cheryl¢@rumpton (/ Elon Musl<

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Cowvselfor the SEC

 

 

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